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Debtor: Lordstown EV Sales LLC                                          Case No. 23-10833 (MFW)
                                                                        Reporting Period: December 2023

         General Notes to Monthly Operating Report and Supporting Documentation

The Debtors have prepared the MOR with the assistance of their advisors and professionals solely for the
purpose of complying with the reporting requirements applicable to the Chapter 11 Cases. The financial
and supplemental information contained herein is unaudited and is not prepared in accordance with
Generally Accepted Principles in the United States (GAAP) nor in accordance with securities laws or
other applicable non-bankruptcy law. Although the Debtors have made commercially reasonable efforts
to ensure the accuracy and completeness of the MOR, inadvertent errors or omissions may exist.


The Debtors have historically accounted for and reported (and their accounting systems and practices
were developed to account for and report) assets and liabilities on a consolidated basis and not on an
entity-by-entity basis or Debtor-by-Debtor basis. Moreover, the Debtors’ business has been operated on a
consolidated basis with no allocation of assets and liabilities to different entities. In preparing this
Monthly Operating Report, the Debtors have reported the assets, liabilities, and other information herein
on a deconsolidated basis based on certain assumptions which may or not ultimately be proven valid. In
light of the foregoing, this report is subject to material change and should not be construed as constituting
a definitive determination regarding the allocation of particular assets or liabilities as among the Debtors
(and there is a significant likelihood that such allocation will not be possible). The rights of all Debtors
(and each of their estates) with respect to these issues are reserved.


Certain portions of the Debtors' prepetition contingent liabilities reflect disputed liabilities that are
subject to compromise, and all rights of all Debtors are reserved with respect to such liabilities and their
allocation.


             General Notes to Balance Sheet and Statement of Operations Attachments

These financial statements were prepared by the Debtors' management and are preliminary and subject to
final quarter-end closing adjustments, which have not been fully completed prior to preparation of this
MOR.
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                                 Lordstown EV Sales LLC
                                       Balance Sheet
                                As of December 31, 2023 (1)



                                     ASSETS
Current Assets
        Accounts receivable                                                  $          -
                                                                                        -

Total Current Assets                                                                    -

Other Assets
                                                                                        -
Total Other Assets                                                                      -

Total Assets                                                                 $          -


                    LIABILITIES AND SHAREHOLDERS' EQUITY
Current Liabilities
        Payable to Parent                                                    $          -
Total Current Liabilities                                                               -

Long-Term Liabilities
                                                                                        -
Total Long-Term Liabilities                                                             -

Total Liabilities                                                                       -

Shareholders' Equity
       Common Stock                                                                     -
       Additional Paid-In Capital                                                   148,547
       Retained Earnings                                                           (148,547)

Total Shareholders' Equity                                                              -

Total Liabilities and Shareholders' Equity                                   $          -




                                     See Notes to Financial Statements
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                            Lordstown EV Sales LLC
                             Statement of Operations
                    For the month ended December 31, 2023




Income                                                        $        -


Total Income                                                           -


Expenses
      Payroll expense                                                  -
      Other                                                            -

Total Expenses                                                         -

Net Income/(Loss)                                             $        -
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            Debtor: Lordstown EV Sales LLC                                    Case No. 23-10833 (MFW)
                                                                              Reporting Period: December 2023

                                    Specific Notes to Financial Statements


Note (1):   The Debtors have historically accounted for and reported (and their accounting systems and practices
            were developed to account for and report) assets and liabilities on a consolidated basis and not on an
            entity-by-entity basis or Debtor-by-Debtor basis. Moreover, the Debtors’ business has been operated
            on a consolidated basis with no allocation of assets and liabilities to different entities. In preparing
            this Monthly Operating Report, the Debtors have reported the assets, liabilities, and other information
            herein on a deconsolidated basis based on certain assumptions which may or not ultimately be proven
            valid. In light of the foregoing, this report is subject to material change and should not be construed as
            constituting a definitive determination regarding the allocation of particular assets or liabilities as
            among the Debtors (and there is a significant likelihood that such allocation will not be possible). The
            rights of all Debtors (and each of their estates) with respect to these issues are reserved.
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In re Lordstown EV Sales LLC
Case No. 23‐10833
All bank statements and bank reconciliations for the reporting period
Reporting Period: December 1, 2023 to December 31, 2023

The Debtor hereby submits this attestation regarding bank account reconciliations in lieu of providing
copies of bank statements, bank reconciliations and journal entries during December 2023.

The Debtors’ standard practice is to ensure that bank reconciliations are completed before closing the books
each reporting period. I attest that each of the Debtors’ bank accounts has been reconciled in accordance
with their standard practices.

/s/ Adam Kroll                                                            January 19, 2024
Signature of Authorized Individual                                        Date

Adam Kroll                                                                Chief Financial Officer
Printed Name of Authorized Individual                                     Title of Authorized Individual
